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                IN THE UNITED STATES DISTRICT COURT
            FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                        CHARLESTON DIVISION

IN RE: AMERICAN MEDICAL SYSTEMS MDL NO. 2325
PELVIC REPAIR SYSTEM PRODUCTS
LIABILITY LITIGATION


IN RE: C.R. BARD, INC.                MDL NO. 2187
PELVIC REPAIR SYSTEM PRODUCTS
LIABILITY LITIGATION


IN RE: BOSTON SCIENTIFIC CORP.        MDL NO. 2326
PELVIC REPAIR SYSTEM PRODUCTS
LIABILITY LITIGATION


IN RE: ETHICON, INC.                  MDL NO. 2327
PELVIC REPAIR SYSTEM PRODUCTS
LIABILITY LITIGATION


IN RE: COLOPLAST CORP                 MDL NO. 2387
       PELVIC REPAIR SYSTEM
PRODUCTS LIABILITY LITIGATION


IN RE: COOK MEDICAL, INC              MDL NO. 2440
PELVIC REPAIR SYSTEM PRODUCTS
LIABILITY LITIGATION


IN RE: NEOMEDIC                       MDL NO. 2511
PELVIC REPAIR SYSTEM PRODUCTS
LIABILITY LITIGATION


THIS DOCUMENT RELATES TO ALL CASES
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                  MOTION FOR CHANGE OF ATTORNEY INFORMATION

       PLEASE TAKE NOTICE that Plaintiffs’ attorneys The Potts Law Firm, LLP, respectfully

move this Court for entry of an order updating our firm information in MDL Nos. 2187, 2325, 2326,

2327, 2387, 2440, and 2511, and in each individual member case in which any of the below-named

attorneys are associated. In support of its motion, The Potts Law Firm states the following:


       1. The below-listed Potts Law Firm attorneys with appearances entered in one or more of
          these matters are resident in the firm’s Houston office:
           Derek H. Potts
           MO Bar No. 44882
           TX Bar No. 24073727

           William H. Barfield
           TX Bar No. 24031725

       2. Effective immediately, the Potts Law Firm attorneys in in one or more of these matters
          resident in Houston relocated their offices to:
           The Potts Law Firm, LLP
           100 Waugh Drive, Suite 350
           Houston, TX 77007
           Telephone: 713.963.8881
           Facsimile: 713.583.5388


       3. The below-listed Potts Law Firm attorneys with appearances entered in one or more of
          these matters are resident in the firm’s Kansas City office:

           Timothy L. Sifers
           MO Bar No. 49386
           KS Bar No. 19922

           Patricia L. Campbell
           MO Bar No. 60917
           KS Bar No. 23946

           Brandon L. Corl
           MO Bar No. 58725
           KS Bar No. 23043

           Michael K. Whitman
           MO Bar No. 45158
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     4. Effective immediately, the Potts Law Firm attorneys in one or more of these matters
        resident in Kansas City relocated their offices to:

         The Potts Law Firm, LLP
         1901 W. 47th Place, Suite 210
         Westwood, KS 66205
         Telephone: 816-931-2230
         Facsimile: 816-931-7030

       Accordingly, the aforementioned attorneys respectfully request that the Court enter

an order updating the attorney information for the above-listed attorneys in MDL Nos.

2187, 2325, 2326, 2327, 2387, and 2440, and each individual member case in which any

of the below named attorneys are associated.

         This 17th Day of March, 2015
                                                By: /s/ Derek H. Potts
                                                Derek H. Potts          TX# 24073727
                                                William H. Barfield     TX #24031725
                                                THE POTTS LAW FIRM, LLP
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                                                Timothy L. Sifers             MO# 49386
                                                Patricia L. Campbell          MO# 60917
                                                Brandon L. Corl               MO# 58725
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                                                Plaintiffs’ Attorneys
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                               CERTIFICATE OF SERVICE

       I hereby certify that on March 17, 2015, I electronically filed the foregoing document

with the Clerk of the Court using the CM/ECF system which will send notification of such filing

to the CM/ECF participants registered to receive service in this MDL.

                                                    By: /s/ Derek H. Potts
                                                           Derek H. Potts
